Case 2:18-cv-11776-AJT-EAS ECF No. 22 filed 06/18/18                  PageID.465       Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




John Doe,

                                   Plaintiff(s),
v.                                                     Case No. 2:18−cv−11776−AJT−EAS
                                                       Hon. Arthur J. Tarnow
University of Michigan, et al.,

                                   Defendant(s),



                                  NOTICE OF MOTION HEARING

   You are hereby notified to appear before District Judge Arthur J. Tarnow at the United
States District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Detroit,
Michigan. Please report to Room 108. The following motion(s) are scheduled for hearing:

                Motion for TRO − #4

      • MOTION HEARING: June 28, 2018 at 03:30 PM



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/M. Lang
                                                   Case Manager

Dated: June 18, 2018
